Case 1:21-cv-05350-PKC-JAM Document 451-1 Filed 07/08/24 Page 1 of 5 PageID #: 25158




                                                                                    U.S. Department of Homeland Security
                                                                                    U.S. Citizenship and lmmigmtion Services
                                                                                    lmrnigra11I Investor Program C>flice
                                                                                    131 M Street. NE, Mailstop 2235
                                                                                    Washington, D.C. 20529

                                                                                    U.S. Citizenship
                                                                                    and Immigratfon
                                                                                    Services



  Date: June 28, 2024

  Fleet New York Metropolitan Regional Center, LLC
  C/O Richard Yi Xia                                                        File Number: RCW1031910196
  136 20 38th Ave., Suite IOF                                               RCID: 101031910196
  Flushing, NY 11354

                                       NOTICE OF INTENT TO TERMINATE

  This notice is in reference to the approved designation of Fleet New York Metropolitan Regional Center, LLC (the
  "Regional Center"), as a regional center in the Regional Center Program (the "Program") under INA 203(b)(5)(E) 1•
  The purpose of this notice is to notify the Regional Center that, pursuant to INA 203(b)(5)(J)(iv)(Il), U.S. Citizenship
  and Immigration Services ('�USCIS") intends to terminate the designation of the Regional Center to participate in the
  Program because of the Regional Center's failure to pay the required EB-5 Integrity Fund fee within 90 days after it
  becoming due.

                                                   (SEE ATTACHED)

  You have thirty (30) days from receipt of this notice of intent to terminate to offer evidence in opposition to the ground
  or grounds alleged.

  The Regional Center must provide evidence that it submitted the required EB-5 Integrity Fund fee payment
  within the applicable payment period. USCIS will reiect EB-5 Integrity Fund fee payments for fiscal year
  2023 and/or fiscal year 2024 received after Dec. 30, 2023, including those made in response to this Notice of
  Intent to Terminate.

  Failure to respond within the time allotted may result in the termination of your designation for participation as a
  regional center in the Program.

  Your deadline for submitting a response is: July 31, 2024.


  1
    The Program was originally authorized under Section 610 of the Departments of Commerce, Justice, and State, the
  Judiciary, and Related Agencies Appropriations Act, 1993, Pub. L. No. 102-395, 106 Stat. 1828 (1992). That authority was
  subsequently repealed pursuant to the EB-5 Reform and Integrity Act of2022 and codified at INA 203(b)(5)(E).


  Form I-797 (revised 2/1/2017)
                                                                                    www.uscis.gov
      Case 1:21-cv-05350-PKC-JAM Document 451-1 Filed 07/08/24 Page 2 of 5 PageID #: 25159



        Fleet New York Metropolitan Regional Center, LLC / ID1031910196
        Page2



        Keep a photocopy of this notice for ye-,,r records. If you otherwise Wfi           J us about your case, please provide a copy of

        this notice.                                                     ,, ,1:,.e-""'.'

        You will be notified separately about any other applications or petitions you have filed.


...........Please send your response to this address:
  i




                  U.S. Citizenship and Immigration Services
                  Immigrant Investor Program Office
                  131 M Street, NE
                  Mailstop 2235
                  Washington, DC 20529

        IMPORTANT:RETURN THIS ORIGINALNOTICE ON TOP OF YOUR RESPONSE.




         cc:      Linda Wong
                  Global Law Group
                  968 South Fair Oaks Ave. Suite 100
                  Pasadena, CA 91105
Case 1:21-cv-05350-PKC-JAM Document 451-1 Filed 07/08/24 Page 3 of 5 PageID #: 25160



  Fleet New York Metropolitan Regional Center, LLC / ID1031910196
  Page 3


                                       NOTICE OF INTENT TO TERMINATE

                                 Fleet New York Metropolitan Regional Center, LLC

  This notice is in reference to the approved designation of Fleet New York Metropolitan Regional Center, LLC (the
  "Regional Center"), as a regional center in the Regional Center Program (the "Program") under section 203(b )(S)(E)
  of the Immigration and Nationality Act ("INA").

  The purpose of this notice is to notify the Regional Center that U.S. Citizenship and Immigration Services
  ("USCIS") intends to terminate the designation of the Regional Center in the Program because the Regional Center
  failed to pay the required EB-5 Integrity Fund fee within 90 days after it becoming due. INA 203(b)(5)(J)(iv)(Il).

  The regional center will be provided 30 days from receipt of the notice of intent to terminate to rebut the ground or
  grounds stated in the notice of intent to terminate.

  USCIS will notify the regional center of the fmal decision. If USCIS determines that the regional center's
  participation in the program should be terminated, USCIS will state the reasons for termination. The regional center
  may appeal the final termination decision in accordance with INA 203(b)(5)(P) and 8 CFR 103.3.


                                                    I. Procedural History

      A. Initial Designation

  On October 7, 2010, USCIS designated the Regional Center following approval of its application for designation
  (RCW1031910196).


                                                          II. Analysis

      A. Failure to Pay the EB-5 Integrity Fund Fee

  Per INA 203(b)(5)(J)(ii), on October 1, 2022, and each October 1 thereafter, each designated regional center must
  pay an annual fee for the EB-5 Integrity Fund equal to-

              •      $20,000 from each designated regional center with 21 or more total investors in the preceding
                     fiscal year in its new commercial enterprises; or

              •      $10,000 from each designated regional center with 20 or fewer total investors in the preceding
                     fiscal year in its new commercial enterprises.

  USCIS published the "Notice ofEB-5 Regional Center Integrity Fund Fee" 2 announcing March 2, 2023, as the due
  date for payment of the fiscal year 2023 EB-5 Integrity Fund fee and providing additional details related to payment


  2 "Notice ofEB-5   Regional Center Integrity Fund Fee," 88 FR 13141 (Mar. 2, 2023).
Case 1:21-cv-05350-PKC-JAM Document 451-1 Filed 07/08/24 Page 4 of 5 PageID #: 25161



  Fleet New York Metropolitan Regional Center, LLC / ID 1031910196
  Page4


  of the fee. USCIS subsequently announced that it would continue to collect the EB-5 Integrity Fund fee for fiscal
  year 2023 from all designated regional centers that had not yet paid the fee with a new due date of October 1, 2023,
  including regional centers designated prior to enactment of the EB-5 Reform and Integrity Act of 2022.

  As required by INA 203(b)(5)(J), and as indicated in the Notice of EB-5 Regional Center Integrity Fund Fee, the
  EB-5 Integrity Fund fee for fiscal year 2024, and for each year thereafter, is due on and must be paid beginning
  Octoher 1 of the applicable fiscal year.

  USCIS must terminate any regional center that does not pay the fee required within 90 days after the date on which
  the fee is due. INA 203(b)(5)(J)(iv)(II). Therefore, USCIS must take steps to terminate any regional center that, on
  or before December 30, 2023, has not paid the required EB-5 Integrity Fund fees for fiscal year 2023 and/or fiscal
  year 2024.

  As of the date of this notice, USCIS records indicate that the Regional Center did not pay the required EB-5 Integrity
  Fund fee for all required Federal fiscal years. Due to the Regional Center's failure to pay the required EB-5 Integrity
  Fund fee within 90 days of it becoming due, USCIS intends to terminate the designation of the regional center for
  participation in the Program as required by INA 203(b)(5)(J)(iv)(II).


                                                       III. Conclusion

  USCIS has determined that the Regional Center has failed to pay the required EB-5 Integrity Fund fee within 90
  days of it becoming due and intends to terminate the designation of the Regional Center in the Program.

  The Regional Center will be provided 30 days from receipt of this notice to respond to this notice.

  The Re2ional Center must provide evidence that it submitted its required EB-5 Integrity Fund fee payment
  within the applicable payment period. USCIS will reiect EB-5 Integrity Fund fee payments for fiscal year
  2023 and fiscal year 2024 received after Dec. 30, 2023, including those made in response to this Notice of
  Intent to Terminate.

  Failure to respond to this notice of intent to terminate will result in termination of the regional center designation
  based on the above stated reasons.

  Please mail any evidence you wish to provide in opposition to the grounds alleged in this notice of intent to terminate
  to the address noted below and include a copy of this letter on top of your submission.

          U.S. Citizenship and Immigration Services
          Immigrant Investor Program Office
          131 M Street NE, Mailstop 2235
          Washington, DC 20529
                                   Case 1:21-cv-05350-PKC-JAM Document 451-1 Filed 07/08/24 Page 5 of 5 PageID #: 25162




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                                Washington, DC 20529
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